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13 STEADFAST NETWORKS, LLC
14                       UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT COURT OF CALIFORNIA
                               WESTERN DIVISION
16
17     ALS SCAN, INC.,                           Case No.: CV 16-5051-GW(AFMx)
18     a Maryland Corporation,
                                                 ORDER ON JOINT STIPULATION
19     Plaintiff,                                OF CONTINUATION OF HEARING
20                                               ON DEFENDANT STEADFAST
       v.                                        NETWORKS, LLC’S HEARING ON
21                                               MOTION FOR ATTORNEYS’ FEES
22     CLOUDFLARE, INC.                          AND EXPENSES
       a Delaware corporation,
23
       et al.                                    Hearing Date: July 30, 2018
24                                               Hearing Time: 8:30 a.m.
25     Defendants.                               Place: Courtroom 9D, 9th Fl.
                                                        350 West 1st Street
26                                                      Los Angeles, CA, 90012
27                                               Judge: Hon. George H. Wu
28



        [PROPOSED] ORDER ON JOINT STIPULATION OF CONTINUATION OF HEARING ON DEFENDANT STEADFAST
                   NETWORKS, LLC’S HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 537 Filed 06/01/18 Page 2 of 3 Page ID #:15324




 1           The Court, having read the Stipulation of the parties to continue the hearing
 2 on Steadfast Networks, LLC’s motion for attorneys’ fees and expenses, Dkt. 530,
 3 from June 18, 2018 to July 30, 2018 at 8:30 a.m., hereby ORDERS:
 4           That the hearing on Steadfast’s motion for attorneys’ fees and expenses shall
 5 be continued to July 30, 2018;
 6           That Plaintiff ALS Scan, Inc’s opposition shall be due July 9, 2018; and
 7           That Defendant Steadfast Networks, LLC’s reply shall be due July 16, 2018.
 8
 9
10 Dated: June 1, 2018
11                                             _________________________________
12                                             Hon. George H, Wu
13                                             United States District Judge
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       [PROPOSED] ORDER ON JOINT STIPULATION CONTINUING HEARING ON DEFENDANT STEADFAST NETWORKS,
                        LLC’S HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES
     Case 2:16-cv-05051-GW-AFM Document 537 Filed 06/01/18 Page 3 of 3 Page ID #:15325




 1                                   PROOF OF SERVICE
 2
   I, Colin T.J. O’Brien, certify that I am an attorney at law, licensed to practice in the
 3 State of Illinois and I am admitted to appear before the United States District Court
 4 for the Central District of California, and a true copy of the foregoing document
   [PROPOSED] ORDER ON JOINT STIPULATION OF CONTINUATION
 5 OF HEARING ON DEFENDANT STEADFAST NETWORKS, LLC’S
 6 HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES was
   served via electronic filing to the following parties in this action via their counsel:
 7
 8          ALS Scan, Inc.
 9
      A true copy of the foregoing document was hand delivered to:
10
11 Hon. George H. Wu
   U.S. District Court
12 350 W. 1st Street
13 Courtroom 9D
14 Los Angeles, CA 90012
15 Via attorney service
16
          I declare under penalty of perjury under the laws of the United States that
17
   the foregoing is true and correct.
18
19
20 Dated: May 30, 2018                                /s/ Colin T.J. O’Brien
                                                      Attorney for Defendant
21                                                    Steadfast Networks, LLC
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        [PROPOSED] ORDER ON JOINT STIPULATION OF CONTINUATION OF HEARING ON DEFENDANT STEADFAST
                   NETWORKS, LLC’S HEARING ON MOTION FOR ATTORNEYS’ FEES AND EXPENSES
